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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                  ***
 4   KAAREN E. MITCHELL,                                          Case No. 2:20-cv-01936-EJY
 5                   Plaintiff,
 6            v.                                                             ORDER

 7   ANDREW SAUL, Commissioner of Social
     Security,
 8
                     Defendant.
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10            Before the Court is Plaintiff Kaaren E. Mitchell’s Application for Leave to Proceed in forma
11   pauperis. ECF No. 1. Plaintiff challenges the Social Security Administration’s denial of Social
12   Security Disability Insurance benefits and Supplemental Security Income benefits.
13   I.       Application to Proceed in forma pauperis
14            Plaintiff submitted the declaration required by 28 U.S.C. § 1915(a) showing an inability to
15   prepay fees and costs or give security for them. Accordingly, Plaintiff’s request to proceed in forma
16   pauperis is granted.
17   II.      Screening the Complaint
18            Upon granting a request to proceed in forma pauperis, a court must additionally screen the
19   complaint pursuant to 28 U.S.C. § 1915(e). A plaintiff must satisfy the following procedural
20   requirements in order to file a complaint in a Social Security appeal before a federal district court:
21   (1) the plaintiff must establish that she has exhausted her administrative remedies pursuant to 42
22   U.S.C. § 405(g), and that the civil action was commenced within sixty days after notice of a final
23   decision; (2) the complaint must indicate the judicial district in which the plaintiff resides; (3) the
24   complaint must state the nature of the plaintiff’s disability and when the plaintiff claims she became
25   disabled; and, (4) the complaint must contain a plain, short, and concise statement identifying the
26   nature of the plaintiff’s disagreement with the determination made by the Social Security
27   Administration and show that the plaintiff is entitled to relief. Montoya v. Colvin, Case No. 2:16-
28   cv-00454-RFB-NJK, 2016 WL 890922, at *2 (D. Nev. Mar. 8, 2016) (internal citations omitted).
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 1          Plaintiff’s Complaint represents that she has exhausted her administrative remedies and

 2   timely commenced this action after the Social Security Administration’s Appeal Council denied her

 3   request for review. ECF No. 1-1 ¶¶ 6-8. The Complaint further indicates the judicial district within

 4   which Plaintiff resides (id. ¶ 1), and alleges that she has been disabled at all times relevant to this

 5   action due to “breast cancer status-post lumpectomies, degenerative disc disease of the cervical and

 6   lumbar spine, bilateral plantar fasciitis/heel spurs, tendinopathy of the right ankle/peroneus brevis

 7   tendon, right shoulder fracture with osteoarthritis, upper extremity deep vein thrombosis, asthma,

 8   obstructive sleep apnea, obesity, mood/cyclothymic disorder, anxiety/panic disorder, . . . obsessive

 9   compulsive disorder, and post-traumatic stress disorder.” Id. ¶ 9(a); see also id. at ¶ 5. Plaintiff’s

10   Complaint also alleges that the Commissioner committed reversible error because the ALJ “failed

11   to properly evaluate the medical evidence in assessing Plaintiff’s residual functional capacity,”

12   “failed to properly evaluate Plaintiff’s subjective complaints,” and “failed to sustain his burden at

13   step five of the sequential evaluation.” Id. ¶ 9(e). Plaintiff’s Complaint shall therefore proceed

14   against Defendant.

15          Accordingly,

16          IT IS HEREBY ORDERED that Plaintiff’s Application for Leave to Proceed in forma

17   pauperis (ECF No. 1) is GRANTED.

18          IT IS FURTHER ORDERED that Plaintiff’s Complaint (ECF No. 1-1) shall proceed against

19   Defendant.

20          IT IS FURTHER ORDERED that the Clerk of the Court shall detach and file Plaintiff’s

21   Complaint (ECF No. 1-1).

22          IT IS FURTHER ORDERED that the Clerk of the Court shall serve the Commissioner of

23   the Social Security Administration by sending a copy of the Summons and Complaint by certified

24   mail to: (1) Office of the Regional Chief Counsel, Region IX, Social Security Administration, 160

25   Spear Street, Suite 800, San Francisco, CA 94105, and (2) the Attorney General of the United States,

26   Department of Justice, 950 Pennsylvania Ave. NW, Washington DC 20530.

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 1          IT IS FURTHER ORDERED that the Clerk of the Court shall issue Summons to the United

 2   States Attorney for the District of Nevada, and deliver the Summons and Complaint to the U.S.

 3   Marshal for service.

 4          IT IS FURTHER ORDERED that Defendant shall have sixty (60) days from the date of

 5   service to file his answer or responsive pleading to Plaintiff’s Complaint in this case.

 6          IT IS FURTHER ORDERED that, henceforth, Plaintiff shall serve upon Defendant a copy

 7   of every pleading, motion, or other document submitted for consideration by the Court. Plaintiff

 8   shall include with the original paper submitted for filing a certificate stating the date that a true and

 9   correct copy of the document was mailed to Defendant. The Court may disregard any paper received

10   by a district judge, magistrate judge, or the Clerk of the Court which fails to include a certificate of

11   service.

12          DATED THIS 20th day of October, 2020.

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15                                                  ELAYNA J. YOUCHAH
                                                    UNITED STATES MAGISTRATE JUDGE
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